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               FORECLOSING GOVERNMENTAL UNIT (FGU)
         COUNTY
     Alcona
                              ADDRESS
                      County Building
                                                             TREASURER
                                                Cheryl L. Franks
                                                                                           FGU
                                                                                          County
                                                                                                   E
                      106 Fifth St.
                      P.O. Box 158              989-724-9420
                      Harrisville, 48740-0158
     Alger            101 Court Street          Pamela Johnson                            County
                      Munising, 49862           Alison Tomma, Deputy
                                                906-387-4535
     Allegan          113 Chestnut St.          Sally L. Brooks                           County
                      P.O. Box 259              Larry Ladenburger, Deputy
                      Allegan, 49010-0259       269-673-0260
     Alpena           720 W. Chisholm St.       Kim Ludlow                                County
                      Suite 3                   Kristi Koperwas, Deputy
                      Alpena, 49707             989-354-9534
     Antrim           203 E. Cayuga St.         Sherry A. Comben                          County
                      P.O. Box 544              Wendy Aldrich, Deputy
                      Bellaire, 49615           231-533-8596
     Arenac           120 N. Grove St.          Dennis Stawowy                            County
                      P.O. Box 637              Mary Reid, Deputy
                      Standish, 48658           989-846-4106
     Baraga           Court House               Anne Koski                                County
                      16 North Third St.        Jill Tollefson, Deputy
                      L'Anse, 49946             906-524-7773
     Barry            Court House               Susan VandeCar                            County
                      220 W. State St.          Lorie Marcott, Deputy
                      Hastings, 49058           269-945-1287
     Bay              515 Center Ave.           Richard R. Brzezinski                     County
                      Suite 103                 Holly Kukla, Deputy
                      Bay City, 48708-5994      989-895-4285
     Benzie           448 Court Place           Michelle Thompson                         County
                      PO Box 377
                      Beulah, 49617           231-882-0011
     Berrien          701 Main Street         Bret E. Witkowski                           County
                      St. Joseph, 49085-1197 Kathy Culbertson, Deputy
                                              269-982-8645
     Branch           Court Building          Ann Vrablic                                 STATE
                      31 Division St.         Julia Yearling, Deputy
                      Coldwater, 49036        517-279-4321
     Calhoun          315 W. Green St.        Brian Wensauer                              County
                      Marshall, 49068         Jon B. Bartlett, Deputy
                                              269-781-0807
     Cass             120 N. Broadway St.     Hope Anderson                               County
                      Ste 113                 Diane Klapchuk, Deputy
                      Cassapolis, 49031       269-445-4468
     Charlevoix       County Building         Marilyn Cousineau                           County
                      301 State St.           Betty Simon, Deputy
                      Charlevoix, 49720       231-547-7202
     Cheboygan        870 S. Main             Buffy Weldon                                County
                      P.O. Box 70
                      Cheboygan, 49721        231-627-8821
     Chippewa         319 Court St.           Margorie Hank                               County
                      Sault Ste. Marie, 49783 Carmen Fazzari, Deputy
                                              906-635-6308




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               FORECLOSING GOVERNMENTAL UNIT (FGU)
         COUNTY               ADDRESS                        TREASURER                      FGU
     Clare             Court House             Jenny Beemer-Fritzinger                     County
                       225 W. Main             Janet L. Price, Deputy
                       P.O. Box 564            989-539-7801
                       Harrison, 48625
     Clinton           100 E. State St.        Tina Ward                                   STATE
                       Ste. 2400               Brenda Ondrus, Deputy
                       St. Johns, 48879-0039   989-224-5280
     Crawford          200 W. Michigan Ave.    Joseph V. Wakeley                           County
                       Grayling, 49738         Kate Wagner, Deputy
                                               989-344-3204
     Delta             310 Ludington St.       Sherry Godfrey                              County
                       Room 171                Ann Englund, Deputy
                       Escanaba, 49829         906-789-5117
     Dickinson         705 S. Stephenson       Lorna Carey                                 County
                       P.O. Box 609            Natalie Rossi, Deputy
                       Iron Mountain, 49801    906-774-8130
     Eaton             1045 Independence Blvd. Robert Robinson                             County
                       Charlotte, 48813        517-543-4262

     Emmet             200 Division St.      Marilyn May                                   County
                       Ste 170               Mary Mitchell, Deputy
                       Petoskey, 49770       231-348-1715
     Genesee           1101 Beach St.        Deb Cherry                                    County
                       Flint, 48502-1475     810-257-3059
     Gladwin           401 W. Cedar          Christy VanTiem                               County
                       Gladwin, 48624        MarLynn Muma, Deputy
                                             989-426-7251
     Gogebic        Court House              Lisa Hewitt                                   County
                    200 N. Moore St.         Patricia Ikola, Deputy
                    Bessemer, 49911          906-663-4517
     Grand Traverse 400 Boardman Ave.        Heidi Scheppe                                 County
                    Traverse City, 49684-257 Annette Counsel, Deputy
                                             231-922-4735
     Gratiot        214 E. Center St.        Michelle Thomas                               County
                    P.O. Box 17              Ella Martyn, Deputy
                    Ithaca, 48847            989-875-5220
     Hillsdale      Court House              Stephanie Kyser                               County
                    29 N. Howell St.         Diana Gow, Deputy
                    Hillsdale, 49242         517-437-4700
     Houghton       401 E. Houghton Ave. Kathleen A. Beattie                               County
                    Houghton, 49931          Judith Carne, Deputy
                                             906-482-0560
     Huron          County Building, Room 20Debra McCollum                                 County
                    P.O. Box 69              Rochelle Peplinski, Deputy
                    Bad Axe, 48413-0069      989-269-9238
     Ingham         County Courthouse        Eric Schertzing                               County
                    Jefferson St., 2nd Floor John Schlinker, Deputy
                    P.O. Box 215             517-676-7220
                    Mason, 48854
     Ionia          County Courthouse        Judith A. Clark                               County
                    100 Main                 Virgene Pung, Deputy
                    Ionia, 48846-1696        616-527-5329




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              FORECLOSING GOVERNMENTAL UNIT (FGU)
         COUNTY                ADDRESS                         TREASURER                    FGU
     Iosco             422 Lake Street           Mr. Elite Shellenbarger                   STATE
                       Box 538                   Catherine Anderson, Deputy
                       Tawas City, 48764-0538 989-362-4409
     Iron              2 South 6th St., Ste. 12 Melanie Camps                              County
                       Crystal Falls, 49920-1413
                                                 906-875-3362
     Isabella          200 N. Main Street        Steven W. Pickens                         County
                       Mt. Pleasant, 48858       Kathleen Schafer, Deputy
                                                 989-772-0911, ext 258
     Jackson           120 W. Michigan Ave.      Karen Coffman                             County
                       Jackson, 49201            Diane L. Donaldson, Deputy
                                                 517-788-4418
     Kalamazoo         201 W. Kalamazoo, Rm10Mary Balkema                                  County
                       Kalamazoo, 49007          Gred Vliestra, Deputy
                                                 269-384-8124
     Kalkaska          605 N. Birch St.          Valerie Thornburg                         County
                       Kalkaska, 49646           Joyce Owens, Deputy
                                                 231-258-3310
     Kent              300 Monroe N.W.           Kenneth D. Parrish                        County
                       P.O. Box Y                Steven W. Orchard, Deputy
                       Grand Rapids, 49503       616-632-7513
     Keweenaw          Court House               Eric Hermanson                            STATE
                       5095 4th St.              Susan Cronenworth, Deputy
                       Eagle River, 49950-9744 906-337-1625
     Lake              Court House               Brenda L. Kutchinski                      County
                       800 10th St., Ste. 210    Julie Hoffman, Deputy
                       Baldwin, 49304            231-745-4622
     Lapeer            255 Clay, Ste. 303        Dana M. Miller                            County
                       Lapeer, 48446             Wendy Miller, Deputy
                                                 810-667-0239
     Leelanau          8527 E. Government Ctr DJohn Gallagher                              County
                       Ste. 104                  Chris Mikowski, Deputy
                       Suttons Bay, 49682        231-256-9838
     Lenawee           301 N. Main               Marilyn J. Woods                          County
                       Adrian, 49221             Carol Bowles, Deputy
                                                 517-264-4554
     Livingston        County Courthouse         Jennifer Nash                             STATE
                       200 E. Grand River        Matt Mlynarcheck, Deputy
                       Howell, 48843             517-546-7010
     Luce              Court House               Darlene Kisro                             STATE
                       407 W. Harrie St.
                       Newberry, 49868           906-293-8171
     Mackinac          100 Marley St.            Jennifer Goudreau                         County
                       St. Ignace, 49781         Cynthia Oliver, Deputy
                                                 906-643-7318
     Macomb            1 S. Main, 2nd Floor      Lawrence Rocca                            County
                       Mt. Clemens, 48043
                                                 586-469-5194
     Manistee          415 Third Street          Russell Pomeroy                           County
                       Manistee, 49660           Mindy Dalke, Deputy
                                                 231-723-3173
     Marquette         232 W. Baraga Ave.        Anne Giroux                               County
                       Marquette, 49855          Kamila Fassbender, Deputy
                                                 906-225-8425


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              FORECLOSING GOVERNMENTAL UNIT (FGU)
        COUNTY               ADDRESS                        TREASURER                      FGU
     Mason            Court House             Shirley J. Smith                            County
                      304 E. Ludington Avenue
                      Ludington, 49431        231-843-8411
     Mecosta          400 Elm Street          Sherry Earnest                              STATE
                      Big Rapids, 49307-1889 Cindy Lattimore, Deputy
                                              231-592-0169
     Menominee        839 10th Ave.           Diane Lesperance                            County
                      Menominee, 49858        Julie Englund, Deputy
                                              906-863-5548
     Midland          220 W. Ellsworth        Catherine L. Lunsford                       County
                      Midland, 48640-5194     Ann M. Townsend, Chief Deputy
                                              989-832-6720
     Missaukee        Court House             Lori Cox                                    County
                      P.O. Box 800            Samantha Nasser, Deputy
                      111 S. Canal Street     231-839-2169
                      Lake City, 49651
     Monroe           51 S. Macomb St.        Kay Sisung                                  County
                      Monroe, 48161           Denine Kamprath, Deputy
                                              734-240-7365
     Montcalm         Box 368                 JoAnne Vukin                                County
                      211 W. Main Street      Dorina Kirshman, Deputy
                      Stanton, 48888          989-831-7334
     Montmorency      12265 M32 West          Jean M. Klein                               County
                      P.O. Box 789            Susan Cady, Deputy
                      Atlanta, 49709          989-785-8086
     Muskegon         173 E. Apple Ave        Tony Moulatsiotis                           County
                      Suite 104               Dan Hansen, Deputy
                      Muskegon, 49442         231-724-6217
     Newaygo          1087 Newell             Holly Moon                                  County
                      P.O. Box 885            Sue Schondelmayer, Deputy
                      White Cloud, 49349-0885 231-689-7230
     Oakland          1200 N. Telegraph       Andrew Meisner                              County
                      Dept. 479               Jim VanLeuven, Deputy
                      Pontiac, 48341-0479     248-858-0624
     Oceana           100 State Street        Mary Lou Phillips                           County
                      P.O. Box 227            Betty L. Poort, Deputy
                      Hart, 49420             231-873-3980
     Ogemaw           P.O. Box 56             Dwight McIntyre                             County
                      806 W. Houghton, Rm 10 Cindy Scott, Deputy
                      West Branch, 48661      989-345-0084
     Ontonagon        725 Greenland Rd.       Diana J. Killoran                           County
                      Ontonagon, 49953        906-884-4665
     Osceola          301 West Upton          Lori Leuderman                              County
                      Reed City, 49677        Susan K. Stewart, Deputy
                                              231-832-6107
     Oscoda           311 Morenci             William Kendall                             County
                      P.O. Box 399            Audry J. Lunning, Deputy
                      Mio, 48647              989-826-1113
     Otsego           County Building         Diann M. Axford                             County
                      225 W. Main
                      Room 107                989-731-7560
                      Gaylord, 49735
     Ottawa           12220 Filmore St        Bradley J. Slagh                            County
                      Room 155                Cheryl A. Clark, Deputy
                      West Olive, MI 49460    616-994-4501

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               FORECLOSING GOVERNMENTAL UNIT (FGU)
        COUNTY                 ADDRESS                            TREASURER                  FGU
     Presque Isle       151 E. Huron               Bridget L. LaLonde                       County
                        P.O. Box 110               Valerie Peacock, Deputy
                        Rogers City, 49779         989-734-4075
     Roscommon          500 Lake Street            Rebecca A. Ragan                         County
                        Roscommon, 48653           Marcie Dankert, Deputy
                                                   989-275-5823
     Saginaw            111 S. Michigan Ave.       Timothy M. Novak                         County
                        Saginaw, 48602             Jana Barry, Deputy
                                                   989-790-5225
     St. Clair          200 Grand River Blvd       Kelly Roberts-Burnett                    County
                        Suite 101                  William Kaufman, Deputy
                        Port Huron, 48060          810-989-6915
     St. Joseph         125 W. Main                Judie Ratering                           County
                        P.O. Box 220               Vicky Anders, Deputy
                        Centreville, 49032-0220 269-467-5527
     Sanilac            60 W. Sanilac              Trudy M. Nicol                           County
                        P.O. Box 286               Judy Decker, Deputy
                        Sandusky, 48471            810-648-2127
     Schoolcraft        300 Walnut                 Julie Roscioli                           County
                        Room 169                   Cindy L. Nelson, Deputy
                        Manistique, 49854          906-341-3622
     Shiawassee         Court House                Thomas Dwyer                             STATE
                        208 N. Shiawassee
                        Corunna, 48817             989-743-2224
     Tuscola            125 W. Lincoln             Patricia Donovan-Gray                    County
                        Caro, 48723                Susan Jensen, Deputy
                                                   989-672-3890
     Van Buren          219 Paw Paw Street         Trisha Nesbitt                           County
                        Suite 101                  Karen MacDonald, Deputy
                        Paw Paw, 49079-1499 269-657-8228
     Washtenaw          200 North Main             Catherine McClary                        County
                        2nd Floor, Ste., 200       Kristen Osborn, Deputy
                        P.O. Box 8645              734-222-6625
                        Ann Arbor, 48107-8645
     Wayne              International Center Bldg. Eric R. Sabree                           County
                        400 Monroe, Ste. 550       Roy Freij, Chief Deputy
                        Detroit, 48226-2946        313-224-5950
     Wexford            P.O. Box 293               Jayne E. Stanton                         County
                        437 E. Division St.        Connie Roush, Deputy
                        Cadillac, 49601            231-779-9475




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